THIS OPINION HAS NO
  PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY
  PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

	
		
			
				The State, Respondent,
				v.
				Sherry K.
      Bailey, Appellant.
			
		
	


Appeal From Greenville County
&nbsp;G. Edward Welmaker, Circuit Court Judge
Unpublished Opinion No.&nbsp; 2007-UP-410
Submitted October 1, 2007  Filed October
  4, 2007
APPEAL DISMISSED


	
		
			
				Appellate Defender Eleanor Duffy Cleary, South Carolina Commission
  on Indigent Defense, of Columbia, for Appellant.
				Attorney General Henry Dargan McMaster, Chief Deputy Attorney
  General John W. McIntosh, Assistant Deputy Attorney General Salley W. Elliott ,
  Office of the Attorney General, of Columbia; and Solicitor Robert M. Ariail, of
  Greenville, for Respondent.
			
		
	

PER CURIAM:&nbsp; Appellant, Sherry K. Bailey, was convicted of assault
  and battery and sentenced to imprisonment for thirty days or a fine of $500.&nbsp; Baileys counsel attached to the brief a
  petition to be relieved as counsel, stating that she had reviewed the record
  and concluded this appeal lacks merit.&nbsp; Bailey did not file a separate pro se brief.&nbsp; After a thorough review of the record pursuant to Anders
    v. California, 386 U.S. 738 (1967) and State v. Williams, 305 S.C.
  116, 406 S.E.2d 357 (1991), we dismiss[1] the appeal and grant counsels petition to be relieved.
APPEAL
  DISMISSED.
HEARN,
  CJ., HUFF, and KITTREDGE, JJ., concur.

[1] We decide this case without oral argument pursuant to
  Rule 215, SCACR.


